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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )              8:07CR426
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
JANHAROY WILSON,                                   )
BENNY WILSON,                                      )
RAISHAUN LAMAR and                                 )
RAHMAN LAMAR,                                      )
                                                   )
                     Defendants.                   )
       This matter is before the court on the motion for an extension of time by defendant
Raishaun Lamar (Filing No. 29). Raishaun Lamar seeks an additional thirty days in which
to file pretrial motions in accordance with the progression order (Filing No. 17). Raishaun
Lamar's counsel represents that Raishaun Lamar will file an affidavit wherein he consents
to the motion and acknowledges he understands the additional time may be excludable
time for the purposes of the Speedy Trial Act. Raishaun Lamar's counsel represents that
government's counsel has no objection to the motion. Upon consideration, the motion will
be granted. The co-defendants shall be given such additional time to also file or
supplement any pretrial motions.
       IT IS ORDERED:
       Defendant Raishaun Lamar's motion for an extension of time (Filing No. 29) is
granted. Raishaun Lamar and all co-defendants are given until on or before January 11,
2008, in which to file pretrial motions pursuant to the progression order. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the
defendants in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between December 11, 2007 and January 11, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendants' counsel require additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 11th day of December, 2007.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
